      Case 2:18-cv-05934-MWF-KS Document 79 Filed 02/26/20 Page 1 of 1 Page ID #:720
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                           JS-6
                                                                  for the
                                                   __________  DistrictofofCalifornia
                                                      Central District      __________

                        OX LABS INC.                                 )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. CV18-5934 MWF (KSX)
                         BITPAY, INC.                                )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                           recover from the
defendant (name)                                                                                                    the amount of
                                                                            dollars ($                 ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of               % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
               the plaintiff, Ox Labs Inc., recover from the defendant, BitPay, Inc., Seventy Thousand Seven Hundred
 other:
u              Seventy-Eight Dollars and Fifty-Seven Cents ($70,778.57), which includes prejudgment interest at the rate
               of 7%. The parties will each bear their own costs.
                                                                                                                                       .

This action was (check one):

u tried by a jury with Judge                                                                            presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.


u decided by Judge    Michael W. Fitzgerald                                            on a motion for
      judgment as a matter of law filed by the defendant (Dkt. 66) and a pretrial dispositive motion filed by the plaintiff
      (Dkt. 67).                                                                                                                       .

Date:     February 26, 2020                                                 CLERK OF COU
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